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IN THE UNITED STATES DISTRICT COURT `_" - acid
FOR THE WESTERN DISTRICT OF TENNESSEE OSJ f»*--
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X Wt;$ § 3 QIHr
COLEEN L. POWERS, et al., X
X
Plaintiffs, X
X
vs. X No. 05-2468-B/P
X
NWA, iNc., X
X
Defendants. X
X

 

ORDER QUASHING SUMMONS
AND
ORDER STAYING DISCOVERY

 

Plaintiff Coleen L. Powers filed a p;Q §§ complaint,
which she characterizes as an employment discrimination action,
against numerous defendants including NWA, Inc. on June 30, 2005.
Powers paid the civil filing fee, and the Clerk immediately issued
a single summons to Pinnacle Airlines, Inc., the second defendant
listed in the case caption.

Pursuant to Local Rule 83.7(a)(2), summonses are not
issued to pro §§ litigants until the completion of the screening
process. The case is currently being screened. Accordingly, the
Court QUASHES the summons issued on June 30, 2005. The plaintiff is
ORDERED to make no further attempt to serve any defendant until
further order of the Court. The obligation of Pinnacle Airlines,
Inc. to answer or otherwise respond to the complaint is STAYED

until further order of the Court. The plaintiff is ORDERED to serve

This document entered en the docket heat m compliance
with Rule 58 and/or 79(3) FRCP on l " l 9 ' ab @

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a copy of this order on any defendant who has been served with a
summons and complaint and to file a certificate of service,
pursuant to Fed. R. Civ. P. 5(d), attesting to her compliance with
this aspect of the Court’s order.

Plaintiff has also attached to her complaint copies of
interrogatories and document request that were purportedly served
on some or all defendants a month before the commencement of this
action. All discovery in this action is STAYED until completion Of
the screening process. The plaintiff is ORDERED to serve a copy of
this order on any defendant who has been served with any discovery
request and to file a certificate of service, pursuant to Fed. R.
Civ. P. B(d), attesting to her compliance with this aspect of the
Court's order.

The plaintiff is advised that discovery in this action
will be conducted in accordance with the Federal Rules of Civil
Procedure. The plaintiff is directed to familiarize herself with
those rules and with the local rules of this Court.

IT Is So ORDERED this [S’F day of July, 2005.

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. ANIEL BREEN
I ED STATES DISTRICT UDGE

 

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s DISTRICT C URT - WESTRNE ISRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:05-CV-02468 Was distributed by faX, mail, or direct printing on
July ]9, 2005 to the parties listed.

 

 

Coleen L. PoWers
6308 Lake VieW Trail #304
i\/lemphis7 TN 38115

Honorable J. Breen
US DISTRICT COURT

